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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                  v.                                Case No: 21-CR-28 (APM)

JOSHUA JAMES,
         Defendant



                   ORDER MODIFYING CONDITIONS OF RELEASE

       Upon consideration of the Defendant's Consent Motion to Modify Conditions of Pretrial

Release, good cause having been shown, it is this ____ day of April, 2021, ORDERED:

1. That the Order Setting Conditions of Release as to Defendant Joshua James is hereby

    MODIFIED as follows:

       The defendant may use an electronic device with Internet access for the sole purposes of:
       (1) attending court hearings; (2) communicating with his counsel and defense team; and
       (3) reviewing discovery materials with counsel and defense team. The defendant may not
       use electronic devices connected to the Internet for any other purposes.

2. That all other Conditions of Release remain in effect.
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                                                    HONORABLE AMIT P. MEHTA
                                                    United States District Judge
